

Matter of Eleanor T.H. v Amanda Y.D. (2022 NY Slip Op 03833)





Matter of Eleanor T.H. v Amanda Y.D.


2022 NY Slip Op 03833


Decided on June 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 10, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CENTRA, LINDLEY, AND CURRAN, JJ.


398 CAF 21-01736

[*1]IN THE MATTER OF ELEANOR T.H. AND JONATHAN A.H., PETITIONERS-APPELLANTS,
vAMANDA Y.D. AND DOUGLAS W.M., RESPONDENTS-RESPONDENTS. (APPEAL NO. 3.) 






D.J. &amp; J.A. CIRANDO, PLLC, SYRACUSE (JOHN A. CIRANDO OF COUNSEL), FOR PETITIONERS-APPELLANTS.
PAUL B. WATKINS, FAIRPORT, FOR RESPONDENT-RESPONDENT DOUGLAS W.M. 
KIMBERLY A. WOOD, WATERTOWN, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Jefferson County (James K. Eby, R.), entered November 22, 2021 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of William ([appeal No. 1] — AD3d — [June 10, 2022] [4th Dept 2022]).
All concur except Smith, J.P., who dissents and votes to reverse in accordance with the same memorandum as in Matter of William ([appeal No. 1] — AD3d — [June 10, 2022] [4th Dept 2022]).
Entered: June 10, 2022
Ann Dillon Flynn
Clerk of the Court








